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          LINDSAY ANNE WESTON
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      3
          Attorney for Defendant
      4   BRANDON SAVALOJA
      5
                                 UNITED STATES DISTRICT COURT
      6                          EASTERN DISTRICT OF CALIFORNIA
      7

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      9
          UNITED STATES OF AMERICA                       )   Case No.: CR S-10-192 JAM
     10
                                                         )
                                                         )   STIPULATION AND ORDER
     11
                                                         )   CONTINUING STATUS CONFERENCE
                        Plaintiff,                       )
                                                         )   AND EXCLUDING TIME
     12
                 vs.                                     )
     13
                                                         )
          BRANDON SAVALOJA,                              )
     14
                         Defendant.
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     16           It is hereby stipulated and agreed to between the United States of America through
     17
          Assistant United States Attorney Daniel McConkie, and defendant, BRANDON SAVALOJA, by
     18
          and through his counsel, Lindsay Anne Weston, that the status conference in this matter currently
     19

     20   scheduled for Tuesday, January 17, 2012, at 9:30 a.m. be continued to February 14, 2012, at 9:30
     21   a.m.
     22
                 This continuance is requested by the defense to allow defense counsel sufficient time to
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     24
          consult with Mr. Savaloja and counsel for the government in efforts to resolve the case by a

     25   negotiated plea. Undersigned defense counsel was appointed on November 29, 2011, after
     26
          previous counsel was relieved by the Court due to a conflict of interest. Defense counsel has
     27
          reviewed the more than seven hundred pages of discovery, met with the defendant, and reviewed
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          the case file. Although the parties anticipate a settlement of the case, defense counsel requests
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      2   additional time to complete negotiations or to prepare the case for trial.
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                  IT IS FURTHER STIPULATED that the period from January 17, 2012, through and
      4
          including February 14, 2012 be excluded in computing the time within which trial must
      5

      6   commence under the Speedy Trial Act, pursuant to 18 U.S.C. §3161(h)(7)(A) and (B)(iv) and

      7   Local Code T4 (preparation of counsel), and that the ends of justice served in granting the
      8
          continuance and allowing the defendant further reasonable time to prepare, taking into account
      9
          the exercise of due diligence, outweigh the best interests of the public and the defendant in a
     10

     11   speedy trial.
     12
          Dated: January 12, 2012                       Respectfully submitted,
     13
                                                        /s/Lindsay Anne Weston
     14                                                 _________________________________
     15                                                 LINDSAY ANNE WESTON
                                                        Attorney for Defendant
     16                                                 BRANDON SAVALOJA
     17
          Date: January 12, 2012                        BENJAMIN B. WAGNER
     18                                                 United States Attorney
     19
                                                         /s/ Daniel S. McConkie
     20                                                 _______________________________
                                                        DANIEL S. MCCONKIE
     21
                                                        Assistant United States Attorney
     22                                                 Attorney for the Plaintiff
     23

     24                                          ORDER

     25   IT IS SO ORDRED.
     26
          Dated: 1/12/2012                              /s/ John A. Mendez_______
     27                                                 JOHN A. MENDEZ
                                                        United States District Judge
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